                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                            GREENEVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
                                         )
      V.                                 )
                                         )
                                         )
NATHAN RAY HOGAN                         )         No. 2:17-CR-l:l_
      also known as "Nasty" or "Nate"   )          JUDGE (k~(.r"
STEVEN ALAN HILLIARD                    )
      also known as "Stevie"            )          TOBE SEALED
MICHAEL J.W. POTTER                     )
TIMOTHY LEWIS GREEN                     )
      also known as "Big Tim"           )
TAMMY L YNNETTE GOODSON                 )
      also known as "Tammy Mellons"     )
KA YLA MARIE TATE                       )
      also known as "Kayla Brown"       )
MISTY LYNN BORDERS                      )
SHAWN ANTHONY DUMITRAS                  )
      also known as "Roo"               )
TRACY EDDY ARNOLD                       )
JONATHAN ANDY LOGAN DISHNER             )
      also known as "JD"                )
BRIAN ALLEN DANNER,                     )
JACOB WADE ARMSTRONG                    )
      also known as "Jake"              )
CHASITY WENDOL YN WHITE                 )
      also known as "Chasity Fields"    )
JOSEPH ANTHONY EDGE                     )
      also known as "Joey"              )
PUANANA JOANN HANDY                     )
RODERICK LEO MCMORRIS                   )
      also known as "Raa Raa"           )
TIMOTHY HOLT                            )
JERRY A. SMITH                          )
JEREMY MICHAEL WILSON                   )
     also known as "Jerm"               )
JUSTIN MICHAEL FAULKNER                 )
     also known as "Mike"               )
MELANIE DENNETTE GRAYBEAL               )
MARK ALLEN MORRISON                     )
QUINTON DEWITT HATCHER                  )



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     also known as "Q"                            )
LANI DANIELLE HUTCHISON
     also known as "Lani McGuire"
                                                  )
                                                  )
                                                                              FILED
JAMES ALLEN MULLINS                               )                                FEB 14 2011
     also known as "Jamie"                        )
                                                                             Clerk, U.S. Distnct Court
                                                                            Eastern District of Tennessee
                                                                                   At Greeneville
                                       MOTION TO SEAL

       COMES NOW, the United States of America, by and through the United States Attorney

for the Eastern District of Tennessee, and hereby moves to seal all documents in this case,

including the Motion to Seal, until such time as the defendants have made an initial appearance

before the court, at which time the file may be unsealed unless the court otherwise orders. The

sealing of this file should not prevent disclosure of the indictment to duly authorized law

enforcement officers or the United States Marshals for purposes of arrest or apprehension of the

named defendants.

       Respectfully submitted, this the 14th day ofF ebruary, 201 7.

                                                      NANCY STALLARD HARR
                                                      United States Attorney



                                              BY:     s/J Gregory Bowman
                                                      J. GREGORY BOWMAN
                                                      Assistant U.S. Attorney




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